                                                                                      Michigan Supreme Court
                                                                                            Lansing, Michigan




Syllabus
                                                              Chief Justice:               Justices:
                                                               Elizabeth T. Clement        Brian K. Zahra
                                                                                           David F. Viviano
                                                                                           Richard H. Bernstein
                                                                                           Megan K. Cavanagh
                                                                                           Elizabeth M. Welch
                                                                                           Kyra H. Bolden

This syllabus constitutes no part of the opinion of the Court but has been                 Reporter of Decisions:
prepared by the Reporter of Decisions for the convenience of the reader.                   Kathryn L. Loomis



                                 In re FORFEITURE OF 2006 SATURN ION

             Docket No. 164360. Argued on application for leave to appeal December 6, 2023. Decided
      July 22, 2024.

              The people of the state of Michigan (plaintiff) initiated forfeiture proceedings pursuant to
      MCL 333.7521 of Michigan’s controlled substances act, MCL 333.7101 et seq., in the Wayne
      Circuit Court after seizing a 2006 Saturn Ion (the defendant vehicle) that had been driven by
      claimant, Stephanie Wilson, when she was pulled over by a police officer. The police officer had
      been surveilling a house in Detroit for narcotics activity when he saw claimant drive up and park
      in front of the house; Malcolm Smith was in the passenger seat. An unidentified man approached
      the passenger side of the defendant vehicle and reached his arm in through the window for what
      the officer believed to be a hand-to-hand drug transaction. After claimant drove away, the officer
      followed the defendant vehicle a short distance before effectuating a traffic stop on the basis of a
      failure to signal a turn. The officer testified that when he pulled claimant over, claimant stated
      that she had driven Smith to the house to purchase drugs; claimant denied saying this. After
      speaking to claimant and Smith, the officer searched the defendant vehicle and found five empty
      syringes under the passenger seat but no other evidence of drugs. Although the officer averred
      that Smith stated that he had already used the syringes to inject heroin, the syringes were never
      tested for drug residue. The officer seized the defendant vehicle. Nearly four months later,
      plaintiff initiated forfeiture proceedings. Following discovery, claimant moved for summary
      disposition on three bases, arguing that plaintiff failed to properly file its complaint for forfeiture,
      that plaintiff failed to state a claim on which relief could be granted, and that there was no material
      factual dispute. After a hearing at which both parties presented evidence, the court, David J. Allen,
      J., granted summary disposition to claimant without specifying the ground on which the ruling was
      based; the court found that the officer appeared to have witnessed a hand-to-hand transaction but
      that such an interaction would not necessarily involve drugs. Plaintiff filed a motion for
      reconsideration, a motion to stay, and an ex parte motion for relief from judgment. The trial court
      denied these motions and directed plaintiff to release claimant’s vehicle immediately. Plaintiff
      appealed, and in an unpublished per curiam opinion issued on March 24, 2022 (Docket No.
      357183), the Court of Appeals, O’BRIEN, P.J., and BOONSTRA, J. (SHAPIRO, J., dissenting),
      reversed the trial court ruling, holding that a reasonable fact-finder could conclude that claimant
      used her vehicle to drive to a “drug house” intending to purchase heroin, her passenger purchased
      some heroin, and claimant drove off with the heroin in the vehicle and that, if proved, these facts
      would establish that the vehicle was subject to forfeiture. Claimant sought leave to appeal in the
Supreme Court, and in lieu of granting leave to appeal, the Supreme Court ordered and heard oral
argument on the application. 510 Mich 943 (2022).

     In an opinion by Justice BERNSTEIN, joined by Chief Justice CLEMENT and Justices ZAHRA,
CAVANAGH, WELCH, and BOLDEN, the Supreme Court, in lieu of granting leave to appeal, held:

         MCL 333.7521(1)(d) states that except as provided in MCL 333.7521(1)(d)(i) to (iv), the
following property is subject to forfeiture: a conveyance, including an aircraft, vehicle, or vessel
used or intended for use, to transport, or in any manner to facilitate the transportation, for the
purpose of sale or receipt of property described in MCL 333.7521(1)(a) (which includes a
controlled substance) or MCL 333.7521(1)(b). There are five elements to MCL 333.7521(1)(d):
(1) a conveyance that is (2) used or intended to be used to (3) transport or facilitate the
transportation (4) for the purpose of the sale or receipt of (5) property described in MCL
333.7521(1)(a) or (b). These elements are plainly related and interdependent; each individual
element must be present for the statute to apply. MCL 333.7521(1)(d) requires the transportation
of drugs (or another form of illicit property as defined by the statute) so that the transportation
element is not fulfilled by the transportation of an individual to a site where the property will be
obtained. The only plausible object of the word “transport” in MCL 333.7521(1)(d) is “property
described in” MCL 333.7521(1)(a) or (b). Accordingly, the transportation element could not be
fulfilled by the movement of the vehicle alone or by the transportation of something else, such as
an individual. The Court of Appeals majority and dissent failed to take into account that
“transporting drugs” under the statute does not encompass someone using drugs in a vehicle. The
Court of Appeals’ reading glossed over the fourth element of the statute: “for the purpose of sale
or receipt.” This clause could not be understood without a direct object, an item to be sold or
received; the clause could only plausibly refer to “property described in” MCL 333.7521(1)(a) or
(b). Accordingly, it is not sufficient for illicit property to simply be transported within a
conveyance—the statute requires that the illicit property be transported within a conveyance for
the purpose that the property be sold or received. To give full effect to MCL 333.7521(1)(d), all
elements have to be fulfilled simultaneously—there must be a conveyance used or intended to be
used to transport illicit property that will be sold or received. Permitting forfeiture on the basis of
only some of the elements—for example, using a vehicle to transport an individual to a location to
sell or receive illicit property without transportation of or an intent to transport that property, or
transportation of property without an intent that it be sold or received—would fail to give meaning
to the entirety of the statute and its plain language. In this case, the first, second, and fifth elements
were not at issue. The defendant vehicle was a “conveyance” for purposes of the first element
because the statute defined that term to include a vehicle. As to the second element, there was no
dispute that claimant used the defendant vehicle when she drove it during the events underlying
this case. The presence of the fifth element was plainly alleged; property described in MCL
333.7521(1)(a) includes a “controlled substance,” a category that is defined to encompass heroin.
The focus was therefore on the transportation and purpose elements: whether the defendant vehicle
was used or intended to be used to transport or facilitate the transportation for the purpose of sale
or receipt of the illicit property. Viewing the facts in the light most favorable to plaintiff in this
case, not all the elements of MCL 333.7521(1)(d) were fulfilled concurrently. Claimant drove
Smith to a known “drug house” where Smith intended to purchase and did purchase heroin, then
claimant drove away with Smith and the heroin in the defendant vehicle. A reasonable fact-finder
could conclude that claimant drove Smith in the defendant vehicle to the house to buy drugs, thus
fulfilling the conveyance, use, and property elements; however, there was no reasonable
suggestion that the defendant vehicle was being used to transport or facilitate the transportation of
drugs at that time. A reasonable fact-finder could also accept that Smith bought drugs via a hand-
to-hand transaction while seated in the defendant vehicle, but this transaction could not reasonably
be said to involve transportation. Finally, a reasonable fact-finder could conclude that claimant’s
vehicle transported drugs down the road some distance before being pulled over; however, this
transportation could not be said to have been for the purpose of sale or receipt of the drugs. The
only intended sale in plaintiff’s theory of the case was concluded in front of the house, when Smith
received the drugs before claimant drove away. Because the evidence presented demonstrated that
the drugs were for Smith’s personal use, there could be no further purpose of sale or receipt. Under
these facts, there was no point in time where a reasonable fact-finder could have concluded that
all the required elements of MCL 333.7521(1)(d) were present. Therefore, the defendant vehicle
was not subject to forfeiture under this provision as a matter of law.

        Court of Appeals judgment reversed; Wayne Circuit Court’s grant of summary disposition
in favor of claimant reinstated.

        Justice VIVIANO, dissenting, would have held that claimant’s vehicle was subject to
forfeiture under MCL 333.7521(1)(f). MCL 333.7521(1)(f) includes as property subject to
forfeiture any thing of value that is used or intended to be used to facilitate any violation of Article
7 of the Public Health Code, including, but not limited to, money, negotiable instruments, or
securities. In this case, claimant’s vehicle was used to facilitate a drug transaction because she
used it to transport the passenger to and from the drug house to purchase drugs; accordingly,
forfeiture of claimant’s vehicle was warranted under MCL 333.7521(1)(f), and the difficult
interpretive issues presented under MCL 333.7521(1)(d) did not need to be resolved. Justice
VIVIANO questioned whether the majority’s narrow interpretation of the word “receipt” in MCL
333.7521(1)(d) was correct. The majority never defined “receipt” but instead adopted a narrow
interpretation of MCL 333.7521(1)(d) that implied that “receipt” was a discrete event that takes
place at one point in time. In the context of the statute, “receipt” means the act or process of
receiving something. As applied in this case, it would be reasonable to conclude that claimant’s
vehicle was subject to forfeiture under MCL 333.7521(1)(d) because she used it to transport drugs
for the purpose of receiving them when she drove off with heroin in her vehicle. Therefore, Justice
VIVIANO questioned the majority’s position that forfeiture is only appropriate if the transportation
of the drugs precedes their receipt. Justice VIVIANO would have affirmed the Court of Appeals on
other grounds and would have remanded the case to the trial court for it to address additional issues
the claimant raised that had not been resolved.
                                                                          Michigan Supreme Court
                                                                                Lansing, Michigan



OPINION
                                                  Chief Justice:                Justices:
                                                   Elizabeth T. Clement         Brian K. Zahra
                                                                                David F. Viviano
                                                                                Richard H. Bernstein
                                                                                Megan K. Cavanagh
                                                                                Elizabeth M. Welch
                                                                                Kyra H. Bolden


                                                                      FILED July 22, 2024


                              STATE OF MICHIGAN

                                       SUPREME COURT


 In re FORFEITURE OF 2006 SATURN ION.


  PEOPLE OF THE STATE OF MICHIGAN,

                 Plaintiff-Appellee,

  v                                                                No. 164360

  2006 SATURN ION,
                 Defendant,
  and
  STEPHANIE WILSON,
                 Claimant-Appellant.


 BEFORE THE ENTIRE BENCH

 BERNSTEIN, J.
        In this case, we consider the scope of forfeiture under Michigan’s controlled

 substances act, MCL 333.7101 et seq. Specifically before us is the question of whether the

 defendant vehicle was subject to forfeiture under the terms of MCL 333.7521(1)(d).
Because we conclude that this provision requires that a vehicle was used or was intended

to be used for the transportation of materials specified within the statute for the purpose of

their sale or receipt, and because we also conclude that under the facts presented here the

defendant vehicle could not be determined to have been used or intended to be used to

transport illicit materials for such a purpose, we hold that the defendant vehicle was not

subject to forfeiture under MCL 333.7521(1)(d). We therefore reverse the judgment of the

Court of Appeals and reinstate the Wayne Circuit Court’s grant of summary disposition in

favor of claimant.

                     I. FACTUAL AND PROCEDURAL HISTORY

       On June 24, 2019, claimant Stephanie Wilson was driving in the defendant vehicle

with Malcolm Smith in the passenger seat when she was pulled over by Sergeant Chivas

Rivers of the Wayne County Sheriff’s Office. Sergeant Rivers testified at his deposition

that he had been surveilling a house on Lumley Street in Detroit for narcotics activity when

he saw claimant and Smith drive up and park in front of that house. An unidentified man

approached the passenger side of the defendant vehicle and reached his arm in through the

window for what Sergeant Rivers believed to be a hand-to-hand drug transaction. After

claimant drove away, Sergeant Rivers followed the defendant vehicle a short distance

before effectuating a traffic stop on the basis of a failure to signal a turn. Sergeant Rivers

testified that, when he pulled claimant over, she stated that she had driven Smith to the

Lumley Street address to purchase drugs. Claimant has denied saying this. After speaking

to claimant and Smith, Sergeant Rivers searched the defendant vehicle and found five

empty syringes under the passenger seat but no other evidence of drugs. Although Sergeant




                                              2
Rivers averred that Smith stated that he had already used the syringes to inject heroin, it

appears that the syringes were never tested for drug residue. Sergeant Rivers seized the

defendant vehicle. Nearly four months later, the state initiated forfeiture proceedings

pursuant to MCL 333.7521.

       Following discovery, claimant moved for summary disposition on three bases:

(1) MCR 2.116(C)(7) (plaintiff failed to promptly file its complaint for forfeiture); (2)

MCR 2.116(C)(8) (plaintiff failed to state a claim on which relief could be granted); and

(3) MCR 2.116(C)(10) (there was no material factual dispute, and claimant was entitled to

judgment as a matter of law). The trial court held a hearing and considered arguments from

both parties regarding the facts surrounding the seizure of the defendant vehicle. Finding

that Sergeant Rivers appeared to have witnessed a hand-to-hand transaction but that such

an interaction would not necessarily involve drugs, the trial court granted summary

disposition to claimant without explicitly specifying the ground on which the ruling was

based. Plaintiff filed a motion for reconsideration, a motion to stay, and an ex parte motion

for relief from judgment. The trial court denied these motions and directed plaintiff to

release claimant’s vehicle immediately.

       The Court of Appeals, considering plaintiff’s appeal under the standard applicable

to MCR 2.116(C)(10), reversed the trial court ruling in an unpublished per curiam opinion

and remanded the case for further proceedings, holding that

       a reasonable factfinder could conclude that claimant used her vehicle to drive
       to a “drug house” intending to purchase heroin, her passenger purchased
       some heroin, and then claimant drove off with the heroin in the vehicle. If
       proven, these facts would establish that the vehicle is subject to forfeiture
       under MCL 333.7521(1)(d). [In re Forfeiture of 2006 Saturn Ion,




                                             3
       unpublished per curiam opinion of the Court of Appeals, issued March 24,
       2022 (Docket No. 357183), p 4.]

Judge SHAPIRO dissented, stating that he would have affirmed the trial court’s grant of

summary disposition on the basis that “the forfeiture statute does not apply when the

vehicle is used to transport an individual to procure a small amount of drugs that is

immediately consumed.” Id. (SHAPIRO, J., dissenting) at 1.

       Claimant appealed in this Court, and in lieu of granting leave to appeal, we ordered

oral argument on the application. In re Forfeiture of 2006 Saturn Ion, 510 Mich 943
(2022).

                             II. STANDARD OF REVIEW

       We review de novo a trial court’s decision on a motion for summary disposition.

Johnson v VanderKooi, 502 Mich 751, 761; 918 NW2d 785 (2018). A motion for summary

disposition under MCR 2.116(C)(10) tests the factual sufficiency of a claim. 1 Id., citing

Maiden v Rozwood, 461 Mich 109, 120; 597 NW2d 817 (1999). In reviewing a motion

under MCR 2.116(C)(10), “a trial court considers affidavits, pleadings, depositions,

admissions, and other evidence submitted by the parties . . . in the light most favorable to

the party opposing the motion.” Maiden, 461 Mich at 120. A genuine issue of material

fact remains where, considering the record under this standard, reasonable minds might

differ. Johnson, 502 Mich at 761.

       Questions of statutory interpretation are questions of law that we review de novo.

Wyandotte Electric Supply Co v Electrical Technology Sys, Inc, 499 Mich 127, 137; 881

1
  We do not disagree with the Court of Appeals’ conclusion that the trial court’s order in
this case is best understood as a decision rendered under MCR 2.116(C)(10), see In re
Forfeiture of 2006 Saturn Ion, unpub op at 3, and so we apply this standard.


                                             4
NW2d 95 (2016). In interpreting a statute, our primary goal is to ascertain the Legislature’s

intent, the foremost indicator of which is the statutory language. ACLU of Mich v Calhoun

Co Sheriff’s Office, 509 Mich 1, 8; 983 NW2d 300 (2022). “Therefore, we start by

examining the words of the statute, which ‘should be interpreted on the basis of their

ordinary meaning and the context within which they are used in the statute.’ ” People v

Harris, 499 Mich 332, 345; 885 NW2d 832 (2016), quoting People v Zajaczkowski, 493

Mich 6, 13; 825 NW2d 554 (2012).

                                       III. ANALYSIS

                             A. THE FORFEITURE STATUTE

       The forfeiture in the instant case was executed under MCL 333.7521(1)(d), which

appears within Michigan’s controlled substances act. The forfeiture provision provides, in

relevant part:

                 (1) The following property is subject to forfeiture:

                                             * * *

              (d) Except as provided in subparagraphs (i) to (iv), a conveyance,
       including an aircraft, vehicle, or vessel used or intended for use, to transport,
       or in any manner to facilitate the transportation, for the purpose of sale or
       receipt of property described in subdivision (a) or (b)[.] [Id.]

       Breaking down this provision to its most discrete composite parts, we conclude that

there are five elements to MCL 333.7521(1)(d). The statute covers: (1) a conveyance that

is (2) used or intended to be used to (3) transport or facilitate the transportation (4) for the

purpose of the sale or receipt of (5) property described in MCL 333.7521(1)(a) or (b).

These elements are plainly related and interdependent, and we must read each of them in

the full context of the statute to discern the Legislature’s plain intent. See People v


                                                5
Vanderpool, 505 Mich 391, 398; 952 NW2d 414 (2020) (“Statutory provisions ‘cannot be

read in isolation, but instead must be read reasonably and in context.’ ”), quoting People v

Cunningham, 496 Mich 145, 154; 852 NW2d 118 (2014). With that said, each individual

element must be present for the statute to apply, because we are bound to give meaning to

each and every word in the statute so as not to render any portion nugatory or surplusage.

See Aroma Wines &amp; Equip, Inc v Columbian Distribution Servs, Inc, 497 Mich 337, 346;

871 NW2d 136 (2015).

       Our interpretation of the forfeiture statute is subject to two seemingly competing

principles. On one hand, the penal nature of the statute and the notion that forfeiture is

generally disfavored suggest that the provision ought to be construed strictly in favor of

the claimant; and on the other, the forfeiture statute appears within the Public Health Code,

MCL 333.1101 et seq., and a statute enacted to promote the health and welfare of the

citizenry is generally construed liberally. See In re Forfeiture of $5,264, 432 Mich 242,

258-259; 439 NW2d 246 (1989) (“First, while we recognize the settled principle that

forfeitures are not favored in the law, we must also attach some significance to the

Legislature’s express mandate in MCL 333.1111(2) to liberally construe the Public Health

Code ‘for the protection of the health, safety, and welfare of the people of this state.’ The

controlled substances act is embodied in article 7 of the Public Health Code. Section

7101(2) of that article expressly provides that the ‘definitions and principles of

construction [in article 1 are] applicable to all articles in this code.’ MCL 333.7101(2)

(emphasis added). Thus, by virtue of the Legislature’s express commands in §§ 1111(2)

and 7101(2), we must liberally interpret § 7521(1)(f) in order to promote the health, safety,

and welfare of Michigan citizens.”) (alteration in original; citations omitted). However,


                                             6
regardless of which of these principles carries the day, we must not step outside the plain

language of the statute.

       We now look to the elements that comprise MCL 333.7521(1)(d). Beginning with

the elements whose meanings are not presently contested, it is plain that the defendant

vehicle is a “conveyance” for the purpose of the first element, as the statute defines this

term to include a vehicle. We see no need to address this element further. The second

element—addressing the use or intended use of the defendant vehicle—is, on its face,

straightforward in that a vehicle is used when it is driven. There is no dispute that claimant

drove the defendant vehicle during the events underlying this case. Relevant to the instant

case, “property described in subdivision (a)” includes a “controlled substance,” a category

that is defined to encompass heroin, MCL 333.7521(1)(a), so the presence of the fifth

element has been plainly alleged, and it is only in question insofar as it relates to the other

elements. Our focus therefore centers on the transportation and purpose elements as we

seek to answer the question posed by the statute—was the vehicle used or intended to be

used to transport or facilitate the transportation for the purpose of sale or receipt of the

illicit property in question?

       The Court of Appeals majority appears to have reached its holding based in large

part on the transportation element. As noted earlier, the Court of Appeals concluded on

the basis of the testimony of Sergeant Rivers that a finder of fact could conclude that

claimant used the defendant vehicle to drive herself and Smith to a “drug house,” that Smith

purchased heroin, and that claimant drove off with the heroin in the vehicle; and the Court

held that these reasonable inferences were sufficient to support a forfeiture of the defendant

vehicle under the statute. In re Forfeiture of 2006 Saturn Ion, unpub op at 4. Addressing


                                              7
claimant’s argument that these facts only showed that she had driven an individual to

purchase drugs, the Court of Appeals further explained, “viewing the evidence in the light

most favorable to plaintiff—as it must be at this stage in the proceedings—a reasonable

factfinder could infer that claimant used her vehicle to transport the heroin after Smith

purchased it.” Id.

       Judge SHAPIRO’s dissent also focused on the transportation element:

              Applied to this case, to be subject to forfeiture, claimant’s vehicle
       must have been used, or intended to have been used, for the transportation of
       drugs. As claimant argues, however, even if the testimony of Sergeant
       Chivas Rivers is accepted as true, the prosecution has produced no evidence
       that her vehicle was used to transport illegal drugs. According to the officer,
       he observed an alleged hand-to-hand transaction involving claimant’s
       vehicle. Shortly after the vehicle pulled away, Rivers initiated a traffic stop
       on the basis of claimant not using a turn signal. It is undisputed that a search
       of the vehicle and its occupants produced no drugs. Indeed, Malcolm
       Smith’s alleged comments to the officer indicates that he already consumed
       the $10 of heroin that he had purchased by the time of the stop.

              Thus, in no sense was claimant’s vehicle used for the transportation
       of drugs. The word “transportation” denotes traveling from one place to
       another. See Merriam-Webster’s Collegiate Dictionary (11th ed) (defining
       “transportation” in part as “means of conveyance or travel from one place to
       another”). Here, the vehicle did not move the drugs from one location to
       another. Rather, the vehicle was used to transport an individual to a drug
       sale, upon which the drugs were immediately (or nearly immediately)
       consumed. [Id. (SHAPIRO, J., dissenting) at 1-2.]

       We agree with the Court of Appeals majority and dissent to the extent that they

concluded that the forfeiture statute mandates the transportation of drugs (or another form

of illicit property as defined by the statute) so that the transportation element is not fulfilled

by the transportation of an individual to a site where the property will be obtained. MCL

333.7521(1)(d) requires the use of a conveyance “to transport, or in any manner to facilitate




                                                8
the transportation . . . .” The word “transport” is a transitive verb that requires a direct

object.     See Merriam-Webster’s Collegiate Dictionary (11th ed).              Looking to MCL

333.7521(1)(d), the only plausible object of this word in the text is “property described in

subdivision (a) or (b).” Therefore, the transportation element could not be fulfilled by the

movement of the vehicle alone or by the transportation of something else, such as an

individual.

          However, in stopping the inquiry here, the Court of Appeals majority and dissent

failed to take into account that “transporting drugs” under the statute does not encompass

someone using drugs in a vehicle. The Court of Appeals’ reading glosses over the fourth

element of the statute: “for the purpose of sale or receipt.” As with the word “transport,”

this is a clause that cannot be understood without a direct object, an item to be sold or

received, and once again, within the context of the statute, this clause can only plausibly

refer to “property described in subdivision (a) or (b).” Therefore, it is not sufficient for

illicit property to simply be transported within a conveyance—the statute requires that the

illicit property be transported within a conveyance for the purpose that the property be sold

or received.

          In order to give full effect to the statute, then, all of these elements must be fulfilled

simultaneously—there must be a conveyance used or intended to be used to transport illicit

property that will be sold or received. To permit forfeiture on the basis of only some of

the elements—for example, using a vehicle to transport an individual to a location to sell

or receive illicit property without transportation of or an intent to transport that property,




                                                  9
or transportation of property without an intent that it be sold or received—would fail to

give meaning to the entirety of the statute and its plain language. 2

       We note that Michigan’s forfeiture statute is based on a nearly identical provision

in the Uniform Controlled Substances Act of 1970, § 505, and that a number of our sister

states have adopted or previously had identical or nearly identical language in their own

civil forfeiture statutes. See, e.g., Ark Code Ann 5-64-505(a)(4); Conn Gen Stat 21a-

246(d)(4); Haw Rev Stat 329-55(a)(4); Ky Rev Stat Ann 218A.410(1)(h); NM Stat Ann

30-31-34(C); ND Cent Code 19-03.1-36(1)(e); Wis Stat 961.55(1)(d); Wyo Stat Ann 35-

7-1049(a)(v). We find it highly relevant that courts in some of these states have concluded,

as we do now, that the language we consider here requires more than mere possession of

illicit substances and that the additional elements of the forfeiture statute must be present.

See, e.g., Reeder v State ex rel Myers, 294 Ala 260, 265; 314 So 2d 853 (1975) (“We

conclude that the word, ‘receipt,’ as used in this statute means receiving for the purpose of

sale or in some way to facilitate the sale of drugs. It does not mean possession merely.”);

Ridenhour v State, 98 Ark App 116, 121; 250 SW3d 566 (2007) (“In the case at bar, all of

the evidence presented to the trial court established that [the claimant] was in possession

of marijuana. However, mere possession of a controlled substance does not satisfy the



2
  As a hypothetical example of a scenario that would fulfill all the elements of the statute
under the “receipt” prong, consider an individual who drives from Lansing to Detroit with
a large quantity of heroin. The individual does not intend to sell the heroin to buyers in
Detroit but to deliver it to co-conspirators in Detroit who will, in turn, sell it to individual
buyers. The phrase “for the purpose of sale” may not apply in this instance because the
driver has no particular drug sale in mind during this trip. The phrase “for the purpose
of . . . receipt” fills the gap and ensures that the statute encompasses vehicles involved in
all stages of drug trafficking.


                                              10
requirements set forth in the civil forfeiture statute. The statute requires that the State

establish by a preponderance of the evidence that [the claimant’s] truck was being used to

transport marijuana ‘for the purpose of sale or receipt.’ ”); One 1977 Porsche 911S v

Washoe Co ex rel Washoe Co Sheriff’s Dep’t Consol Narcotics Unit, 100 Nev 210, 210-

211; 678 P2d 1150 (1984) (“The vehicle was apparently used a number of times by its

owner to travel to and from the location at which he purchased a controlled substance for

his own use. On some occasions, the vehicle owner apparently used the controlled

substance at the site of purchase, but he often took with him an amount of the controlled

substance, for later use, when he drove away in the vehicle. Respondent does not contend

that the vehicle owner was a seller or distributor of controlled substances. The owner’s

only involvement here was his purchasing of a controlled substance for his own personal

use. We hold that because the vehicle was used only in conjunction with the owner’s

possession of a controlled substance, rather than for the purpose of sale, forfeiture of the

vehicle under NRS 453.301(5) was improper.”). Although we are, of course, not strictly

bound to follow the example of those states that have also adopted the language of the

Uniform Controlled Substances Act, we find their precedent in this context highly

persuasive.   See MCL 333.7121(2) (“This article shall be applied and construed to

effectuate its general purpose to make uniform the law with respect to the subject of this

article among those states which enact laws similar to it.”). We are unaware of any




                                            11
instances of our sister states who have adopted this language reaching a different

conclusion. 3

                                   B. APPLICATION

       With these principles in mind, we turn to the facts alleged in the instant case.

Viewing these facts in the light most favorable to plaintiff, we conclude that not all of the

elements of MCL 333.7521(1)(d) were fulfilled concurrently. The testimony of Sergeant

Rivers was that claimant drove Smith to a known “drug house” on Lumley Street where

Smith intended to purchase and did purchase heroin, then claimant drove away with Smith

and the heroin in the defendant vehicle, which was pulled over by Sergeant Rivers shortly

thereafter. A reasonable fact-finder might credit this narrative and conclude that claimant

did indeed drive Smith in the defendant vehicle to the Lumley Street address to buy drugs,

fulfilling the conveyance, use, and property elements of MCL 333.7521(1)(d), but there is

no reasonable suggestion that the defendant vehicle was being used to transport or facilitate

the transportation of drugs at that time. A reasonable fact-finder might also accept that

Smith bought drugs via a hand-to-hand transaction while seated in the defendant vehicle,

but this transaction cannot reasonably be said to involve transportation. Notwithstanding


3
  We note that the interpretation favored by our sister states and adopted here is also
consistent with the intent identified in the comment to § 505 of the Uniform Controlled
Substances Act, which reads, in pertinent part:

       Effective law enforcement demands that there be a means of confiscating the
       vehicles and instrumentalities used by drug traffickers in committing
       violations under this Act. The reasoning is to prevent their use in the
       commission of subsequent offenses involving transportation or concealment
       of controlled substances and to deprive the drug trafficker of needed
       mobility. [Uniform Controlled Substances Act, § 505, comment (1970).]


                                             12
the apparent absence of drugs in the defendant vehicle, a reasonable fact-finder could even

conclude that claimant’s vehicle transported drugs down the road some distance before

being pulled over. However, this transportation cannot be said to have been for the purpose

of sale or receipt of the drugs. The only intended sale in plaintiff’s theory of the case was

concluded in front of the house on Lumley Street, when Smith received the drugs before

claimant drove away. Because the evidence presented demonstrated that the drugs were

for Smith’s personal use, there could be no further purpose of sale or receipt. Under these

facts, there was no point in time where a reasonable fact-finder could have concluded that

all of the required elements of MCL 333.7521(1)(d) were present. Therefore, the defendant

vehicle was not subject to forfeiture under this provision as a matter of law.

                                    IV. CONCLUSION

       For the reasons stated in this opinion, we conclude that MCL 333.7521(1)(d)

requires that a vehicle be used or intended to be used for the transportation of materials

specified within the statute for the purpose of their sale or receipt before a forfeiture may

be effected. Because we conclude that the facts presented here, even considered in a light

most favorable to plaintiff, do not support an inference that the defendant vehicle was used

or intended to be used to transport illicit materials for their sale or receipt, we hold that the

defendant vehicle was not subject to forfeiture under MCL 333.7521(1)(d). 4 We therefore


4
  Justice VIVIANO would have us find the seizure of the defendant vehicle valid under MCL
333.7521(1)(f). As the prosecution has not made this argument before this Court or before
the Court of Appeals, we have declined to consider it here. See Greenlaw v United States,
554 US 237, 243-244; 128 S Ct 2559; 171 L Ed 2d 399 (2008) (explaining the presentment
principle and noting that “we rely on the parties to frame the issues for decision and assign
to courts the role of neutral arbiter of matters the parties present”); see also Mich Gun
Owners, Inc v Ann Arbor Pub Sch, 502 Mich 695, 709-710; 918 NW2d 756 (2018)

                                               13
reverse the judgment of the Court of Appeals and reinstate the Wayne Circuit Court’s grant

of summary disposition in favor of claimant.


                                                       Richard H. Bernstein
                                                       Elizabeth T. Clement
                                                       Brian K. Zahra
                                                       Megan K. Cavanagh
                                                       Elizabeth M. Welch
                                                       Kyra H. Bolden




(applying Greenlaw and declining to reach an issue that the plaintiffs had declined to
present).


                                           14
                             STATE OF MICHIGAN

                                     SUPREME COURT


In re FORFEITURE OF 2006 SATURN ION.


 PEOPLE OF THE STATE OF MICHIGAN,

               Plaintiff-Appellee,

 v                                                              No. 164360

 2006 SATURN ION,
               Defendant,
 and
 STEPHANIE WILSON,
               Claimant-Appellant.


VIVIANO, J. (dissenting).
       I question whether the majority’s narrow interpretation of the word “receipt” in

MCL 333.7521(1)(d) is correct. Although it is not a model of clarity, I believe that

Subsection (1)(d) can reasonably be interpreted more broadly as subjecting plaintiff’s

vehicle to forfeiture under the facts of this case.      I would not resolve the difficult

interpretive issues presented under Subsection (1)(d), however, because claimant’s vehicle

was clearly subject to forfeiture under MCL 333.7521(1)(f). As a result, I would affirm

the Court of Appeals on other grounds.

       Like we do with other statutes, we interpret the civil forfeiture statute in the Public

Health Code “to discern and give effect to the Legislature’s intent, and in doing so we focus

on the statute’s text.” Clam Lake Twp v Dep’t of Licensing &amp; Regulatory Affairs, 500 Mich
362, 373; 902 NW2d 293 (2017). Terms that are not defined in the statute “are presumed

to have their ordinary meaning, unless they ‘have acquired a peculiar and appropriate

meaning in the law,’ in which case we accord them that meaning.” Id., quoting MCL 8.3a.

Finally, “[t]he statute must be considered as a whole, reading individual words and phrases

in the context of the entire legislative scheme.” Id. (quotation marks and citation omitted).

       As an initial matter, I agree with the majority that instead of a strict or liberal

reading, we should give the statute a fair interpretation. 1 For purposes of my dissent, I will

assume the majority is correct that Subsection (1)(d) requires a vehicle to be used (or

intended for use) to transport drugs (or other illicit property as defined by the statute), and

not simply to transport an individual to a drug transaction. 2 But the majority never defines

“receipt” even though it is one of the key terms in this case. Instead, it adopts a narrow

interpretation of Subsection (1)(d) that implies “receipt” is a discrete event that takes place




1
  Ronnisch Constr Group, Inc v Lofts on the Nine, LLC, 499 Mich 544, 553 n 18; 886
NW2d 113 (2016) (agreeing that a “provision requiring that a statute be liberally construed
‘should be regarded as requiring a fair interpretation as opposed to a strict or crabbed one—
which is what courts are supposed to provide anyway’ ”), quoting Scalia &amp; Garner,
Reading Law: The Interpretation of Legal Texts (St. Paul: Thomson/West, 2012), p 233
(quotation marks and citation omitted).
2
  The majority does not seem to take issue with the Court of Appeals majority’s finding
that, considering the facts in the light most favorable to the prosecution, “a reasonable
factfinder could conclude that claimant used her vehicle to drive to a ‘drug house’ intending
to purchase heroin, her passenger purchased some heroin, and then claimant drove off with
the heroin in the vehicle.” In re Forfeiture of 2006 Saturn Ion, unpublished per curiam
opinion of the Court of Appeals, issued March 24, 2022 (Docket No. 357183), p 4. Or,
stated more succinctly, that “a reasonable factfinder could infer that claimant used her
vehicle to transport the heroin after Smith purchased it.” Id. I agree with the Court of
Appeals majority’s finding on this point.



                                              2
at one point in time. Then the majority opinion requires simultaneity: all the statutory

elements it identifies must be fulfilled at the same time.

       This does not necessarily comport with the ordinary meaning of “receipt” at the time

the statute was adopted, which was “the act or process of receiving.” Webster’s Ninth New

Collegiate Dictionary (1983). See also Oxford English Dictionary (2d ed) (defining

“receipt,” in relevant part, as “[t]he act of receiving something given or handed to one; the

fact of being received”). 3 Thus, in the context of the statute, “receipt” means the act or

process of receiving something. In an unpublished case, the Court of Appeals interpreted

the statute in this manner. See In re Forfeiture of 2007 Ford Focus, unpublished per curiam

opinion of the Court of Appeals, issued October 8, 2015 (Docket No. 321640), p 4 (holding

that a vehicle is used “for the purpose of . . . receipt” when “the vehicle was used or

intended for use with the specific objective, goal, or end of . . . receiving a controlled

substance”). 4




3
  To determine the meaning of the term “receipt” when the statute was enacted, it is
appropriate to consult a dictionary from that time. See Ronnisch Constr Group, 499 Mich
at 563 n 58. The relevant language in MCL 333.7521(1)(d) was in the statute when it was
first enacted in 1978. See 1978 PA 368. Therefore, it is appropriate to consult dictionaries
from that time.
4
  I do not believe that the out-of-state cases the majority cites in support of its contrary
view are very persuasive. The first two cases, Reeder v State ex rel Myers, 294 Ala 260;
314 So 2d 853 (1975), and Ridenhour v State, 98 Ark App 116; 250 SW3d 566 (2007), do
not involve similar facts, i.e., they do not involve a trip to a drug house to purchase drugs.
They simply make the point that mere possession is not enough—a point that I do not
contest. The third case, One 1977 Porsche 911S v Washoe Co ex rel Washoe Co Sheriff’s
Dep’t Consol Narcotics Unit, 100 Nev 210; 678 P2d 1150 (1984), does involve similar
facts, i.e., repeated visits to a drug house. But there, the state only argued that “receipt”
includes mere possession, which the court correctly rejected. The case does not stand for


                                              3
       As applied here, I think it is reasonable to conclude that claimant’s vehicle was

subject to forfeiture under Subsection 1(d) because she used it to transport drugs for the

purpose of receiving them when she drove off with heroin in her vehicle. By way of

example, I believe it would be reasonable to think of using a car to transport a package for

the purpose of receiving it when you drive to the post office to pick up a package and then

use your car to bring the package back to your house. For this reason, I question the

majority’s position that forfeiture is only appropriate if the transportation of the drugs

precedes their receipt, and I am inclined to conclude that Subsection 1(d) should be given

a broader meaning.

       As much as I enjoy it, however, this semantic hairsplitting is unnecessary in this

case because another subsection of the statute, MCL 333.7521(1)(f), is plainly applicable.

Subsection (1)(f) includes as property subject to forfeiture “[a]ny thing of value that

is . . . used or intended to be used to facilitate any violation of this article including, but not

limited to, money, negotiable instruments, or securities.” It appears beyond dispute that

claimant’s vehicle was used to facilitate a drug transaction because she used it to transport

the passenger to and from the drug house to purchase drugs. See In re Forfeiture of One

1987 Chevrolet Blazer, 183 Mich App 182, 185; 454 NW2d 201 (1990) (holding that a

vehicle is subject to forfeiture under MCL 333.7521(1)(f) when it is “used to facilitate the

sale or receipt of a controlled substance not by actual transportation of the controlled

substance to a customer but rather by transportation of the customer to the controlled



any broader points and, in any event, has not been very influential—it has only been cited
once in the past 40 years.



                                                4
substance”). See also People v Plunkett, 485 Mich 50, 62; 780 NW2d 280 (2010) (holding

that “a defendant who assists either party to a criminal delivery [of a controlled substance]

necessarily aids and abets the deliverer’s commission of the crime because such assistance

aids and abets the delivery”) (emphasis omitted). It is also beyond dispute that claimant’s

car was a “thing of value.” See In re Forfeiture of $5,264, 432 Mich 242, 250; 439 NW2d

246 (1989) (interpreting MCL 333.7521(1)(f) and holding that “[t]he phrase ‘any thing of

value,’ in our view, is all-inclusive, encompassing both real and personal property”). 5



5
  The Court of Appeals dissenting judge did not find In re Forfeiture of One 1987 Chevrolet
Blazer persuasive, and since it was nonbinding precedent, he indicated that he would
decline to follow it. The dissent argued that, as the more specific provision regarding
vehicles, Subsection (1)(d) should govern in this case. See In re Forfeiture of 2006 Saturn
Ion (SHAPIRO, J., dissenting), unpub op at 2-3, citing Telford v Michigan, 327 Mich App
195, 199; 933 NW2d 347 (2019). However, to the extent that Subsection (1)(f) can be
thought of as having a broader scope and Subsection (1)(d) as having a narrower scope,
there is no conflict between them, much less the sort of irreconcilable conflict to which the
general/specific canon would apply. See TOMRA of North America, Inc v Dep’t of
Treasury, 505 Mich 333, 350; 952 NW2d 384 (2020) (observing that the general/specific
canon “is tailor-made for cases . . . in which statutory provisions would otherwise
conflict”); Milne v Robinson, 513 Mich 1, 22; 6 NW3d 40 (2024) (VIVIANO, J., concurring
in the result) (“All that is needed [for the general/specific canon to apply] is enough
overlapping subject matter for the two statutes to irreconcilably conflict as applied in a
given case.”). See also Reading Law, p 183 (observing that “[t]he general/specific canon,
like the irreconcilability canon . . . , deals with what to do when conflicting provisions
simply cannot be reconciled”). As the authors of Reading Law explain, “[t]he most
common example of irreconcilable conflict . . . involves a general prohibition that is
contradicted by a specific permission, or a general permission that is contradicted by a
specific prohibition.” Id. However one might think of these forfeiture provisions, it cannot
be said that they permit any sort of behavior or that they otherwise irreconcilably conflict.
Thus, in my view, the general/specific canon cannot be used to interpret Subsection (1)(d)
as carving out an exception to Subsection (1)(f). See id. (“Under this canon, the specific
provision is treated as an exception to the general rule.”). In such circumstances, “any
redundancies [in the statute] are properly viewed more in the nature of a belt-and-
suspenders approach than as an indication that the Legislature intended to implicitly narrow
the scope of” another statutory provision. Miller v Dep’t of Corrections, ___ Mich ___,


                                             5
       Whether the issue of forfeiture under MCL 333.7521(1)(f) was adequately

preserved is a close question; however, I believe it was. The prosecution’s complaint for

judgment of forfeiture stated that “[t]his complaint is brought pursuant to M.C.L.A.

333.7521 et seq.,” and the prosecution urged the Court of Appeals to reverse the trial

court’s decision based, at least in part, on In re Forfeiture of One 1987 Chevrolet Blazer,

which, as explained above, concerns forfeiture under Subsection (1)(f). However, the

Court of Appeals majority declined to address the prosecution’s argument under

Subsection 1(f) and offered no opinion on whether In re Forfeiture of One 1987 Chevrolet

Blazer was correctly decided. In re Forfeiture of 2006 Saturn Ion, unpub op at 4 n 2

(“Plaintiff here has not argued that the vehicle was subject to forfeiture under MCL

333.7521(1)(f), so we offer no opinion on whether that subsection would support forfeiture

in this case or whether In re Forfeiture of One 1987 Chevrolet Blazer was rightly

decided.”). The Court of Appeals dissenting judge disagreed and instead apparently

believed that the prosecution’s argument under Subsection (1)(f) was sufficiently

preserved, stating that, “while the prosecution does not expressly rely on [Subsection

(1)(f)], it implicitly does so by relying on 1987 Chevrolet Blazer.” In re Forfeiture of 2006

Saturn Ion (SHAPIRO, J., dissenting), unpub op at 3 n 1. During oral argument before this

Court, the prosecution continued to assert that claimant’s vehicle was subject to forfeiture

under Subsection (1)(f) and disagreed with the Court of Appeals majority’s ruling that the




___; ___ NW3d ___ (2024) (Docket No. 164862); slip op at 17-18, citing Reading Law,
pp 176-177.



                                             6
issue had not been adequately raised. On balance, I believe the issue was raised and

preserved for appellate review. 6

       For these reasons, I would hold that forfeiture of claimant’s vehicle was warranted

on alternative grounds under MCL 333.7521(1)(f). Like the Court of Appeals majority, I

would remand this case to the trial court for it to address additional issues the claimant

raised that have not yet been resolved. Because the majority chooses a different course, I

respectfully dissent.


                                                          David F. Viviano




6
 Even if the issue were unpreserved, I would exercise our discretion to address the issue
because it is a question of statutory interpretation, which is a question of law, and the facts
necessary for resolution of the issue have been presented. See McNeil v Charlevoix Co,
484 Mich 69, 81 n 8; 772 NW2d 18 (2009). It does not seem to me a good use of the
Court’s time to opine on whether Subsection (1)(d) applies while ignoring a neighboring
provision that appears readily applicable to the facts of this case.



                                              7
